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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION


  In the Matter of:                             Case No. 19-00730-5-JNC
  CAH Acquisition Company #1, LLC
  d/b/a Washington County Hospital              Chapter 11
                  Debtor


         BANKRUPTCY ADMINISTRATOR’S OBJECTION TO THE DEBTOR’S
         APPLICATION TO EMPLOY SPILMAN THOMAS & BATTLE PLLC AS
                  BANKRUPTCY COUNSEL FOR THE DEBTOR

       Now comes the Bankruptcy Administrator and respectfully objects to the Application to
 Employ Spilman Thomas & Battle, PLLC and in support thereof shows the court the following:

        1. On February 19, 2019, an involuntary petition under chapter 7 was filed against CAH
 Acquisition Company #1, LLC. On March 15, 2019, the court entered an order for relief and on
 converted the case to chapter 11. On March 22, 2019, Thomas Waldrep was appointed as
 chapter 11 trustee. Waldrep has sought to employ two law firms, Hendren Redwine and Malone
 and Waldrep LP as co-counsel for the trustee in this case.

        2. On April 4, 2019, Spilman Thomas & Battle, PLLC (hereinafter “Spilman”) filed an
 application seeking approval of its employment as “Bankruptcy counsel for the Debtor” pursuant
 to 11 U.S.C. §§327(a) and 328.

         3. Spilman seeks to be employed under 11 U.S.C. §327(a) which allows a trustee to
 employ one or more attorneys to represent it in a bankruptcy proceeding. The debtor-in-
 possession, which has the powers of a trustee until a trustee is appointed, may also seek to
 employ counsel under §327. However, once a trustee is appointed, the Debtor may no longer
 seek to employ estate professionals under §327(a),

         4. While Spilman is apparently seeking to represent the Debtor (as opposed to the DIP),
 its application lists many duties that overlap with the Trustee’s duties. The application states that
 the firm will be “consulting with and working closely with the trustee in this case to efficiently
 share duties of the administration of the Debtor’s chapter 11 case as agreed with (sic) and
 approved by the court.” ¶14(g) of Spilman’s Application.

         5. In light of the complexity of this case taken in conjunction with the affiliated CAH
 matters, the Bankruptcy Administrator acknowledges that employment of multiple firms as
 permitted by the provisions of 11U.S.C. §1102 and §327 is necessary to properly administer the
 case(s). However, Spilman’s employment must be narrow and limited in scope.
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         Wherefore, the Bankruptcy Administrator objects to the employment of Spilman, Thomas
 and Battle PLLC and requests that a hearing be conducted on this matter and such other and
 further relief as the court deems just and proper.

        Respectfully submitted, this the 16th day of April 2019.

                                                    /s/ Marjorie K. Lynch
                                                    Marjorie K. Lynch
                                                    Bankruptcy Administrator
                                                    434 Fayetteville Street, Suite 640
                                                    Raleigh, North Carolina 27601
                                                    (919) 334-3885
                                                    Marjorie_lynch@nceba.uscourts.gov
                                                    State Bar No. 13594
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                                 CERTIFICATE OF SERVICE


        I, Marjorie K. Lynch, of 434 Fayetteville Street, Suite 640, Raleigh, North Carolina,
 27601, certify:

        That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
 age.

         That on this day, I served copies of the foregoing document electronically upon counsel
 of record.

        I certify under penalty of perjury that the foregoing is true and correct.

        Dated this 16th day of April 2019

                                                       /s/ Marjorie K. Lynch
                                                       Marjorie K. Lynch
                                                       Bankruptcy Administrator
                                                       434 Fayetteville Street, Suite 640
                                                       Raleigh, North Carolina 27601
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                                                       State Bar No. 13594
